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                        Exhibit 8
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April 8, 2024

VIA E-MAIL: tangla.fudge-bernal@hhs.gov

Ms. Tangla Fudge-Bernal
Coordinating Attorney/CMS Enforcement
The Centers for Medicare & Medicaid Services

Re:     REMARKABLE HEALTHCARE OF FORT WORTH
        CMS Certification Number (CCN): 676285

Dear Ms. Fudge-Bernal,

        On behalf of Remarkable Healthcare of Fort Worth (hereinafter the “Fort Worth Facility” or “Facility”),
Gutnicki LLP, as counsel, respectfully requests CMS to abate, halt, or reconsider the Imposition of Remedies
dated April 3, 2024, because allowing the Fort Worth Facility to remain open and operational through the CHOW
process that began on March 1, 2024 is in the best interests of the patients, residents, and the government for the
following reasons:

  A.    The Fort Worth Facility is the ONLY Facility in Fort Worth, Texas (population of 967,457) that accepts
        patients with Candidas Auris, Geri-Psych patients, and High Acuity patients.
         The Fort Worth Facility services nine (9) large hospitals who discharge a high quantity of patients needing
skilled nursing care each month. Therefore, both the community of Fort Worth—which, according to the Texas
Demographic Center, has a population of 967,457—and the government need this Facility to remain open.
         This Facility is one of the few facilities in Fort Worth that accepts higher acuity patients (patients whose
condition is severe and imminently dangerous), including being the only facility in Fort Worth that accepts patients
with candidas auris. This Facility is also one of the very few that accepts geri-psych patients—these patients,
specifically, have been kicked out of, and/or denied by, other facilities due to the erratic and hard-to-manage
behaviors associated with dementia and late-life depression and psychosis. The Fort Worth Facility has
successfully managed these geri-psych patients’ behaviors, focusing on each person’s individual needs, resulting
in them thriving at the Facility. The City of Fort Worth needs this Facility to stay open to treat, care for, and
rehabilitate these high acuity and high risk patients and residents.
         Additionally, the Facility is well known as specialty facility for wound care in Fort Worth. After a 2022
survey result regarding wound care, the Facility hired a full-time certified wound care nurse with vast wound care
experience. Now, the Facility achieved national recognition as a Wound Care Facility of Excellence by VOHRA
wound care, and the Facility’s QAPI data reflects its success with wound outcomes.

  B.    CHOW as of March 1, 2024 to West Wharton Hospital District, Admission to QIPP, and Corrective
        Action Taken to Remedy Prio Survey Results
         On March 1, 2024, the Fort Worth Facility was CHOWed to West Wharton Hospital District (“WWHD”)
and admitted into the QIPP. Numerous patient-care and administrative changes occurred due to the CHOW and
as required by WWHD to include the Facility in the QIPP. The Facility has already raised (and will continue to
raise) the level of resident care, and many of these changes have corrected the conditions that took the Facility out
of substantial compliance.
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          First, the Facility’s previous Director of Nursing (“Prior DON”) was not following policy or procedures,
including refusing to staff the Facility according to the company’s staffing requirements/policy and failing to
monitor documentation. That Prior DON was swiftly terminated (serving only 6-month tenure) after the February
12, 2024 survey, and on March 28, 2024, a new DON (the “New DON”) started at the Facility. The New DON
not only has exceptional operational experience as a DON, but she also possesses extensive surveyor
experience. Post-CHOW, the Fort Worth Facility intentionally hired this New DON for her knowledge of
regulatory compliance. The New DON’s experience as a state surveyor has already and will continue to aid the
Facility with providing ongoing education and oversight of the staff regarding daily documentation, ongoing
regulatory compliance through systems, and daily monitoring to ensure compliance. Since the New DON’s start
date, she has reconfigured the Facility’s patient medical record software to allow efficient transfer of all secured
text message communication into the daily documentation EMR modules, ensuring important physician
notifications and communications are documented in the patient medical record. This act alone fully corrects the
Facility’s prior survey results and ensures that this Facility will no longer have documentation issues.
          Second, two now-terminated Assistant Directors of Nursing (“ADONs”) were not following Facility
policy regarding documentation by failing to transition the messages on the secured text app used to communicate
with physicians into documentation in the patient medical record. Facility policy required the ADONs to monitor
daily charting every 24-hour period, part of the company’s policy for “Daily Start Up” review; however, these
ADONs were not adhering to this policy. Since the CHOW on March 1, 2024, neither of these two ADONs are
employed at the Facility.
          Third, the most severe deficiency the Facility received was not re-ordering patient medication timely—
Facility investigation determined this was caused by a breakdown in communication between the medication aides
and nurses. In addition to terminating the ADONs who failed to perform the required daily documentation audits,
the communication systems have been corrected with supervised, mandatory medication counts between shifts.
Additionally, since the CHOW, nursing administration is working with the contracted pharmacy to monitor
timeliness of order deliveries. These changes were made post-CHOW to ensure the new owner will not repeat the
conditions raised in the pre-CHOW surveys.
          Fourth, the new owner, West Wharton Hospital District, owns multiple hospitals and skilled nursing
facilities in Texas. They are quality-outcome focused, enjoying successful outcomes with skilled nursing facilities
they own. Beginning in February 2024, WWHD has been active in the Fort Worth facility QAPI meetings, making
recommendations and following up with facility staff on all action items. WWHD has a team of quality consultants
who work within their facilities, monthly, to ensure quality patient outcomes.

  C.     Pure Health is taking over as Manager of the Fort Worth Facility before April 18th
        In addition to the CHOW, the Fort Worth Facility’s operations and management is being transitioned to
Pure Health before April 18, 2024. Pure Health has the experience and expertise to continue to raise the quality
performance of the Facility. Pure Health currently operates more than 14 skilled nursing facilities in Texas. They
also operate several SNFs inside one of the largest healthcare hospital systems in Texas, giving them immediate
access to physicians and nurses knowledgeable about care pathways, necessary for successful patient
outcomes. Their experience caring for high acuity patients gives them the ability to immediately and positively
impact patient care at the Fort Worth Facility. Pure Health has been provided access to the Fort Worth Facility’s
EMR to proactively assist them with a smooth transition. As a part of the transition, Pure Health leaders are
currently reviewing the Facility’s documentation for quality assurance purposes. This affords them the opportunity
to immediately focus on quality improvement projects upon completion of the transition in the next 10 days.


         For these reasons and more, it is in the best interests of the patient residents and the government to abate,
halt, or otherwise reconsider the Imposition of Remedies dated April 3, 2024 against Remarkable Healthcare of
Fort Worth. Terminating the Facility’s Medicaid & Medicare Provider Agreement irreparably and detrimentally
harms the patient residents of the Fort Worth Facility, a majority of whom have no other facility available to them
due to their Candidas Auris diagnosis, their status as geri-psych patients, and/or their high acuity conditions,


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meaning their condition is severe and imminently dangerous. Without this Facility—the only Facility in Fort
Worth to accept, admit, and treat these patients, they would have nowhere else to go, and that is bad not only for
the patients, but also for the government. The management and operations of the Forth Worth Facility are mid-
transition to Pure Health, and the ownership of the Facility is mid-CHOW to WWHD. It is indisputably in the best
interests of both the patient residents and the government to abate, halt, or otherwise reconsider the Imposition of
Remedies dated April 3, 2024 against Remarkable Healthcare of Fort Worth to allow the Facility to remain open,
operational, and admitting patients through the completion of the CHOW to WWHD.

       Thank you for your consideration, and we are available to provide any follow-up information and answer
any questions you may have.

                                                                   Sincerely,

                                                                   GUTNICKI LLP



                                                                   By:
                                                                         Liz Boydston
                                                                         Its: Partner


                                                                   and

                                                                   REMARKABLE HEALTHCARE FORT
                                                                   WORTH

                                                                   By:




                                                                         Laurie Beth McPike
                                                                         Its: President/CEO



                                                                   By:




                                                                         Jon E. McPike
                                                                         Its: COO




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Stats on Pure Health

Per the following link, please see Pure Health stats below:

https://health.usnews.com/best-nursing-homes/area/tx/purehealth-transitional-care-at-texas-
health-presbyterian-676410


    •    Current designation due to CMS 5-Star rating - Best Nursing Homes, US News and World
         report

    •    60.2% of residents were able to return home compared to 53% nationally

    •    0% of residence found resulting in a major injury compared to 1% nationally

    •    4.8% of short-term rehabilitation stays resulted in a serious infection requiring
         hospitalization compared to 8% nationally

    •    20% of residents were hospitalized during their stay compared to 23% nationally

    •    4.6% of short-term residents needed to go to an ER during their stay compared to 12.3%
         nationally

    •    In 2023, their Texas Health Presbyterian location only had two minor deficiencies sited.

    •    Currently, their Arlington location is also a CMS 5-Star rating facility.


West Wharton Hospital District

Per the following link below, please see SNFs owned by West Wharton:

https://www.hhs.texas.gov/sites/default/files/documents/sb8-nf-eligibility-may-2022.pdf

West Wharton Hospital District currently owns 32 skilled nursing facilities, totaling 3,988 certified
licensed beds.




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